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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JARED HOLLINGS and EDRENA BELL,                                  )
 INDIVIDUALLY AND ON BEHALF OF ALL OTHERS                        )
SIMILARLY SITUATED,                                              )
                                                                 )
        Plaintiffs,                                              )
                                                                 )
v.                                                               )       Case No.: 1:22-cv-04250
                                                                 )
BOSE CORPORATION,                                                )
                                                                 )
        Defendant.                                               )


                               JOINT INITIAL STATUS REPORT

        Plaintiffs Jared Hollings and Endrena Bell (collectively, “Plaintiffs”) on behalf of themselves

and all other Plaintiffs similarly situated, and Defendant Bose Corporation (“Defendant”) (collectively

the “Parties”), submit this Joint Initial Status Report to the Court:

1.      The Nature of the Case

        A.     Attorneys of Record:

        The attorneys of record for the Plaintiff and                The attorneys of record for the Defendant
        the Putative Class are:                                      are:

        Brandon Wise                                                 Jeffrey N. Rosenthal
        Adam Florek                                                  Ana Tagvoryan
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        B.      Nature of the Claims and Defenses: Plaintiffs assert claims for violations of the

Illinois Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1, et seq. alleging that Defendant

allegedly collected Plaintiffs’ biometric information without their consent.

        C.      Anticipated Legal and Factual Issues:

        (i)      Whether the Defendant violated the BIPA;

        (ii)     Whether the Virtual Try-On Technology at issue falls under BIPA’s health care

                 exemption;

        (iii)    Whether this matter should be stayed pending certain appeals currently proceeding in

                 the Illinois state and federal courts regarding the applicable statute of limitations and

                 accrual of BIPA claims;

        (iv)     Whether Plaintiffs’ claims are suitable for class treatment; and

        (v)      The amount of Plaintiffs’ and Class Members’ alleged damages.

        D.      Relief Sought by Plaintiffs:     Plaintiffs seek statutory damages, attorneys’ fees and

costs, interest, and any other relief available under the BIPA.

2.      Jurisdiction:

         A.      On August 11, 2022, Defendant timely removed this action from the Circuit Court of

Cook County to this Court based 28 U.S.C. §§ 1332, 1441, 1446, 1453, 1711, and the Local Rules of

the U.S. District Court for the Northern District of Illinois (the “Local Rules”), as Defendant asserts

that the BIPA claims of Plaintiffs and of most of the putative class members in this matter are

preempted by the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d) and 1453, and CAFA

expands jurisdiction for diversity class actions by creating federal subject matter jurisdiction if: (1) a




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Class has 100 or more class members; (2) at least one class member is diverse from at least one de-

fendant (i.e., “minimal diversity”); and (3) there is more than $5 million, exclusive of interest and costs,

in controversy in the aggregate.

3.      Status of Service:       Defendant has been served.

4.      Consent to Proceed Before a Magistrate Judge: The Parties do not consent to proceed

before the Magistrate Judge at this time.

5.      Pending Motions:

        None at this time. Defendant anticipates filing a Motion to Dismiss based on, among other

things, the application of BIPA’s health care exemption on or before October 19, 2022. Defendant

requests discovery be stayed pending this Court’s adjudication of this Motion to Dismiss—which may

be dispositive of Plaintiffs’ entire claim. In the event this Court agrees to stay discovery during the

pendency of Defendant’s Motion to Dismiss, Defendant respectfully requests that the Parties file a

revised status report upon the Court’s ruling—in lieu of setting discovery deadlines at this stage.

        In the alternative, and assuming the Court is not inclined to dismiss this action, Defendant

also anticipates filing a motion to stay pending certain appeals currently proceeding in the Illinois

state/federal courts regarding the applicable statute of limitations and the accrual of BIPA claims.

6.      Proposed Case Plan

A. Plaintiff ’s Proposed Plan:

        Given Defendant’s anticipated motion to dismiss, Plaintiff proposes the following

case schedule:

                     i. Rule 26(a)(1) disclosures shall be served by: January 6, 2023.

                     ii. First discovery requests shall be issued on: February 10, 2023.

                    iii. Fact discovery completion date: October 20, 2023.

                    iv. Experts:


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        Plaintiff proposes that expert reports shall be co-extensive with each Parties’ class certification

        briefing. For example, any expert designated by Plaintiff shall be at the time of their Motion

        for Class Certification, if any.

        Defendant shall disclose any experts related to class certification on the same date as its

        Opposition to Class Certification.

        Plaintiff shall disclose any rebuttal reports related to class certification on the same date as its

        Reply in Support of Motion for Class Certification.

                    v. Dispositive motions shall be set after the Motion for Class Certification is

                        ruled upon.

                    vi. Any amendments to the pleadings or joining of parties shall be by October

                        27, 2023.

                   vii. Class Certification motion shall be filed on February 16, 2024. Defendant’s

                        Opposition to Class Certification, which will include time to depose any of

                        Plaintiff ’s experts, shall be [60 days later]. Plaintiff ’s Reply, which will include

                        time to depose any Defendant’s experts, shall be [60 days later].

B. Defendant’s Proposed Plan:

        Defendant respectfully requests discovery deadlines be postponed until the Court issues a rul-

ing on its forthcoming Motion to Dismiss. If the Court is inclined to enter a discovery schedule at this

stage, Defendant respectfully requests bifurcating discovery between a threshold and case dispositive

question and all other fact, expert, or class-wide discovery. This case presents threshold questions of:

(1) Whether Defendant collects, captures, possesses, obtains, or stores any biometric data generated

from the Virtual Try-On (“VTO”) tool offered on its website, and (2), Whether the VTO technology

itself collects, captures, possesses, obtains, or stores “biometric identifiers” (as defined in BIPA); and




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is therefore subject to BIPA (collectively, the “VTO Question”). Defendant accordingly proposes the

following bifurcated schedule:

       a. Rule 26(a)(1) disclosures shall be served by January 6, 2023;

       b. First Discovery Requests as to the VTO Question shall be issued on February 10, 2023;

       c. Fact Discovery completion date as to the VTO Question: September 20, 2023;

       d. Plaintiff shall disclose experts as to the VTO Question by October 3, 2023;

       e. The close of expert discovery relating to the VTO Question: November 20, 2023; and

       f. The deadline for filing Dispositive Motions regarding the VTO Question shall be Janu-

            ary 20, 2024.

7.     Status of Settlement Discussions

       A.      The Parties are exploring the possibility of early resolution.

       B.      The Parties do not request a settlement conference at this time.

Dated: September 27, 2022

Respectfully submitted,


/s/ Brandon Wise                                        /s/Jeffrey N. Rosenthal
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on this date, I filed the foregoing document with the clerk of the Court
using the Court’s ECF system, which should further distribute a true and accurate copy of the fore-
going to all counsel of record.


                                                       /s/ Jeffrey N. Rosenthal
                                                       Jeffrey N. Rosenthal




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